 8:11-cr-00043-LSC-TDT        Doc # 87    Filed: 06/08/11    Page 1 of 1 - Page ID # 148




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:11CR43
       vs.                                    )
                                              )                    ORDER
JUANITA HERRERA,                              )
JOHN CORSON,                                  )
                                              )
                     Defendant.



       This matter is before the court on the defendant Juanita Herrera’s Motion to
Continue Trial [85] from June 7, 2011 to June 28, 2011 and defendant John Corson’s
Motion to Continue Trial [86]. However, trial was set for June 28, 2011 for all defendants
including Juanita Herrera and John Corson on 5/31/2011 at filing [83]. The motions will be
denied as moot.

      IT IS ORDERED that defendant's Juanita Herrera’s Motion to Continue Trial [85]
and defendant John Corson’s Motion to Continue Trial [86] are denied as moot.

       A party may object to this order by filing an "Objection to Magistrate Judge's Order"
no later than June 13, 2011. The objecting party must comply with all requirements of
NECrimR 59.2.

       DATED June 8, 2011.

                                          BY THE COURT:

                                          s/ F.A. Gossett, III
                                          United States Magistrate Judge
